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  Nos. 22-11133-GG, 22-11143-GG, 22-11144-GG, 22-11145-GG (consolidated)

                 UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT

              LEAGUE OF WOMEN VOTERS OF FLORIDA, INC., et al.,
                                     Plaintiffs-Appellees,
                                        v.
                      FLORIDA SECRETARY OF STATE, et al.,
                                        Defendants-Appellants.

    Appeals from the U.S. District Court for the Northern District of Florida,
     Nos. 4:21-cv-242, 4:21-cv-186, 4:21-cv-187, 4:21-cv-201 (Walker, C.J.)

   BRIEF OF APPELLANTS REPUBLICAN NATIONAL COMMITTEE
     AND NATIONAL REPUBLICAN SENATORIAL COMMITTEE

Benjamin J. Gibson                           Cameron T. Norris
Daniel E. Nordby                             Jeffrey S. Hetzel
George N. Meros Jr.                          CONSOVOY MCCARTHY PLLC
Frank A. Zacherl                             1600 Wilson Boulevard, Suite 700
Amber Stoner Nunnally                        Arlington, Virginia 22209
Tara R. Price                                (703) 243-9423
SHUTTS & BOWEN LLP                           cam@consovoymccarthy.com
215 South Monroe Street, Suite 804
Tallahassee, Florida 32301                   Tyler R. Green
(850) 241-1717                               CONSOVOY MCCARTHY PLLC
                                             222 South Main Street, 5th Floor
                                             Salt Lake City, Utah 84101

                            Counsel for RNC & NRSC
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              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT
      Per Rule 26.1 and Circuit Rule 26.1, appellants certify that the following have an

interest in the outcome of this appeal:

1.    Adkins, Janet, Defendant
2.    Abudu, Nancy, Attorney for Plaintiffs-Appellees
3.    Advancement Project National Office, Attorneys for Plaintiffs-Appellees
4.    Aguilera, Cecilia, Attorney for Plaintiffs-Appellees
5.    Alachua County Attorney’s Office, Attorneys for Defendant
6.    Andersen, Mark, Defendant
7.    Anderson, Christopher, Defendant
8.    Anderson, Shirley, Defendant
9.    Anstaett, David, Attorney for Plaintiffs-Appellees
10.   Arnold & Porter, LLP, Attorneys for Plaintiffs-Appellees
11.   Arnold, Melissa, Defendant
12.   Arrington, Mary, Defendant
13.   Baird, Maureen, Defendant
14.   Baker McKenzie, LLP, Attorney for Plaintiffs-Appellees
15.   Bardos, Andy, Attorney for Defendants
16.   Barton, Kim, Defendant
17.   Beasley, Bobby, Defendant
18.   Beato, Michael, Attorney for Defendant-Appellant
19.   Begakis, Steven, Attorney for Intervenor-Defendants-Appellants
20.   Bell, Daniel, Chief Deputy Solicitor General of Florida
21.   Benda, Kyle, Attorney for Defendant
22.   Bennett, Michael, Defendant
23.   Bennette, Matletha, Attorney for Plaintiffs-Appellees
24.   Bentley and Bruning PA, Attorney for Defendant
25.   Bentley, Morgan, Attorney for Defendant


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26.   Bernstein, Daniel, Attorney for Plaintiffs-Appellees
27.   Bishop, Marty, Defendant
28.   Black Voters Matter Fund LLC, Plaintiff-Appellee
29.   Bledsoe, William, Attorney for Defendant
30.   Branch, Aria, Attorney for Plaintiffs-Appellees
31.   Brewton Plante PA, Attorneys for Defendants
32.   Brigham, Robert, Plaintiff-Appellee
33.   Brodeen, Karen, Attorney for Defendants-Appellants
34.   Broward County Attorney's Office, Attorney for Defendant
35.   Brown, Summer, Attorney for Defendant
36.   Brown, Tomi, Defendant
37.   Budhu, Ryan, Attorney for Plaintiffs-Appellees
38.   Byrd, Cord, Defendant-Appellant
39.   Cannon, Starlet, Defendant
40.   Case, Andrew, Attorney for Plaintiffs-Appellees
41.   Cavataro, Benjamin, Attorney for Plaintiffs-Appellees
42.   Chambless, Chris, Defendant
43.   Chappell, William, Attorney for Defendant-Appellant
44.   Chason, Sharon, Defendant
45.   Choi, Ellen, Attorney for Plaintiffs-Appellees
46.   Chorba, William, Attorney for Defendant-Appellant
47.   City of Jacksonville, Office of General Counsel, Attorneys for Defendant
48.   Clark Partington, Attorneys for Defendant
49.   Common Cause, Plaintiff-Appellee
50.   Consovoy McCarthy PLLC, Attorneys for Intervenor-Defendants-Appellants
51.   Conyers, Grant, Defendant
52.   Corley, Brian, Defendant
53.   County of Volusia, Attorneys for Defendant
54.   Covington & Burling LLP, Attorneys for Plaintiffs-Appellees
55.   Cowles, Bill, Defendant

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56.   Cycon, John, Attorney for Defendant-Appellant
57.   Daines, Kenneth, Attorney for Defendant-Appellant
58.   Dandeneau, Debra, Attorney for Plaintiffs-Appellees
59.   Darrow Everett LLP, Attorneys for Plaintiffs-Appellees
60.   Davis, Ashley, Attorney for Defendant-Appellant
61.   Davis, Vicki, Defendant
62.   De Paul, Romane, Attorney for Plaintiffs-Appellees
63.   Demos, Attorneys for Plaintiffs-Appellees
64.   Devaney, William, Attorney for Plaintiffs-Appellees
65.   Disability Rights Florida, Plaintiff-Appellee
66.   Doyle, Tommy, Defendant-Appellant
67.   Driggers, Heath, Defendant
68.   Duke, P. Benjamin, Attorney for Plaintiffs-Appellees
69.   Dukkipati, Uttara, Attorney for Plaintiffs-Appellees
70.   Dunaway, Carol, Defendant
71.   Earley, Mark, Defendant
72.   Edwards, Brendalyn, Attorney for Defendant
73.   Edwards, Jennifer, Defendant
74.   Edwards, Lori, Defendant
75.   Elias Law Group, Attorneys for Plaintiffs-Appellees
76.   Elias, Marc, Attorney for Plaintiffs-Appellees
77.   Ellis, Elizabeth, Attorney for Defendant
78.   Equal Ground Education Fund, Plaintiff-Appellee
79.   Erdelyi, Susan, Attorney for Defendants
80.   Escambia County Attorney’s Office, Attorneys for Defendant
81.   Ester, Jason Charles, Attorney for Defendant
82.   Fair Elections Center, Attorneys for Plaintiffs-Appellees
83.   Fajana, Francisca, Attorney for Plaintiffs-Appellees
84.   Fajana, Morenike, Attorney for Plaintiffs-Appellees
85.   Farnam, Alteris, Defendant

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86.    Faruqui, Bilal, Attorney for Defendants-Appellants
87.    Feiser, Craig, Attorney for Defendant
88.    Ferenc, Samuel, Attorney for Plaintiffs-Appellees
89.    Fletcher, Michael, Attorney for Plaintiffs-Appellees
90.    Florida Alliance for Retired Americans Inc., Plaintiff-Appellee
91.    Florida Department of State, Attorneys for Defendant-Appellant
92.    Florida Office of the Attorney General, Attorneys for Defendants-Appellants
93.    Florida Rising Together, Plaintiff-Appellee
94.    Florida State Conference of the NAACP, Plaintiff-Appellee
95.    Ford, Christina, Attorney for Plaintiffs-Appellees
96.    Fouhey, Elizabeth, Attorney for Plaintiffs-Appellees
97.    Fox, David, Attorney for Plaintiffs-Appellees
98.    Fram, Robert, Attorney for Plaintiffs-Appellees
99.    Freedman, John, Attorney for Plaintiffs-Appellees
100. Frost, Elisabeth, Attorney for Plaintiffs-Appellees
101. Galbraith, Miles, Attorney for Plaintiffs-Appellees
102. Galindo, Emily, Attorney for Plaintiffs-Appellees
103. Gardner Bist Bowden et al, Attorneys for Defendants
104. Genberg, Jack, Attorney for Plaintiffs-Appellees
105. Giannini, Mary, Attorney for Defendant
106. Gibson, Benjamin, Attorney for Intervenor-Defendants-Appellants
107. Gibson, Francesca, Attorney for Plaintiffs-Appellees
108. Gordon, Phillip, Attorney for Defendant-Appellant
109. Gray Robinson PA, Attorneys for Defendant
110. Green, Tyler, Attorney for Intervenor-Defendants-Appellants
111. Griffin, Joyce, Defendant
112. Grimm, Dillon, Attorney for Plaintiffs-Appellees
113. Hanlon, John, Defendant
114. Harriett Tubman Freedom Fighters Corp., Plaintiff-Appellee
115. Hart, Travis, Defendant

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116. Hays, Alan, Defendant-Appellant
117. Healy, Karen, Highlands County Supervisor of Elections
118. Heard, Bradley, Attorney for Plaintiffs-Appellees
119. Henderson Franklin Starnes etc., Attorneys for Defendants
120. Hernando County Attorney’s Office, Attorneys for Defendant
121. Herron, Mark, Attorney for Defendant
122. Hillsborough County Office of the County Attorney, Attorneys for Defendant
123. Hirschel, Andrew, Attorney for Plaintiffs-Appellees
124. Hispanic Federation, Plaintiff-Appellee
125. Hogan, Mike, Defendant
126. Holt, Dallin, Attorney for Defendant-Appellant
127. Holtzman Vogel Baran, et al., Attorneys for Defendants-Appellants
128. Hoots, Brenda, Defendant
129. Houlihan, Ashley, Attorney for Defendant
130. Hutto, Laura, Defendant
131. Janousek, John, Attorney for Defendants
132. Jarone, Joseph, Attorney for Defendant
133. Jazil, Mohammad, Attorney for Defendant-Appellant
134. Johnson, Diana, Attorney for Defendant
135. Johnson, Kia, Attorney for Defendant
136. Jones, Tammy, Defendant
137. Jouben, Jon, Attorney for Defendant
138. Joyner, Nia, Attorney for Plaintiffs-Appellees
139. Kanter Cohen, Michelle, Attorney for Plaintiffs-Appellees
140. Karpatkin, Jeremy, Attorney for Plaintiffs-Appellees
141. Keen, William, Defendant
142. Khan, Sabrina, Attorney for Plaintiffs-Appellees
143. Khazem, Jad, Attorney for Plaintiffs-Appellees
144. King Blackwell Zehnder, etc PA, Attorneys for Plaintiffs-Appellees
145. King, Nellie, Attorney for Plaintiffs-Appellees

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146. Kinsey, Jennifer, Defendant
147. Kirk, Stephen, Plaintiff-Appellee
148. Klitsberg, Nathaniel, Attorney for Defendant
149. Knight, Shirley, Defendant
150. Labasky, Ronald, Attorney for Defendants
151. Latimer, Craig, Defendant
152. Latino Justice PRLDEF, Attorneys for Plaintiffs-Appellees
153. Lavia, John, Attorney for Defendants
154. Law Offices of Nellie King PA, Attorneys for Plaintiffs-Appellees
155. League of Women Voters of Florida Education Fund Inc., Plaintiff-Appellee
156. League of Women Voters of Florida, Plaintiff-Appellee
157. Lenhart, Kaiti, Defendant
158. Lewis, Lisa, Defendant
159. Link, Wendy, Defendant
160. Lux, Paul, Defendant
161. Madduri, Lalitha, Attorney for Plaintiffs-Appellees
162. Madison, Alan, Plaintiff-Appellee
163. Marcus, Julie, Defendant
164. Mari, Frank, Attorney for Defendants
165. Marks Gray PA, Attorneys for Defendant
166. McNeil, Justin, Jefferson County Supervisor of Elections
167. McVay, Bradley, Attorney for Defendant-Appellant
168. Meadows, Therisa, Defendant
169. Meros, George, Attorney for Intervenor-Defendants-Appellants
170. Messer Caparello & Self PA, Attorneys for Defendant
171. Miami-Dade County Attorney’s Office, Attorneys for Defendant
172. Miller, Jeffrey, Attorney for Plaintiff-Appellees
173. Milton, Chris, Defendant
174. Mood, Kirsten, Attorney for Defendant
175. Moody, Ashley, Defendant-Appellant

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176. Moore, James, Attorney for Defendants
177. Morgan, Joseph, Defendant
178. Morris, John, Attorney for Plaintiffs-Appellees
179. NAACP Legal Defense & Education Fund, Inc., Attorneys for Plaintiffs-Appellees
180. Nabors Giblin, & Nickerson PA, Attorneys for Defendant
181. Nasseri, Cyrus, Attorney for Plaintiffs-Appellees
182. National Center for Law and Economic Justice, Attorneys for Plaintiffs-Appellees
183. National Republican Senatorial Committee, Intervenor-Defendant-Appellant
184. Negley, Mark, Defendant
185. Nordby, Daniel, Attorney for Intervenor-Defendants-Appellants
186. Norris, Cameron, Attorney for Intervenor-Defendants-Appellants
187. Nunnally, Amber, Attorney for Intervenor-Defendants-Appellants
188. Oakes, Vicky, Defendant
189. O’Bryant, Patrick, Attorney for Defendant
190. O’Callaghan, Brendan, Attorney for Plaintiffs-Appellees
191. Ogg, Penny, Defendant
192. Olivo, Geraldo, Attorney for Defendants
193. Osborne, Deborah, Defendant
194. Ott, London, Attorney for Defendant
195. Overturf, Charles, Defendant
196. Palm Beach County Supervisor of Elections, Attorneys for Defendant
197. Paralyzed Veterans of America Central Florida Chapter, Plaintiff-Appellee
198. Paralyzed Veterans of America Florida Chapter, Plaintiff-Appellee
199. Perkins Coie LLP, Attorneys for Plaintiffs-Appellees
200. Perko, Gary, Attorney for Defendant-Appellant
201. Pinellas County Attorney’s Office, Attorneys for Defendant
202. Poder Latinx, Plaintiff-Appellee
203. Poliak, Shira, Attorney for Plaintiffs-Appellees
204. Price, Tara, Attorney for Intervenor-Defendant-Appellants
205. Republican National Committee, Intervenor-Defendant-Appellant

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206. Riley, Heathers, Defendant
207. Rogers, Susan, Plaintiff-Appellee
208. Romero-Craft, Kira, Attorney for Plaintiffs-Appellees
209. Roper PA, Attorneys for Defendants
210. Rosenthal, Oren, Attorney for Defendant
211. Rudd, Carol, Defendant
212. Salzillo, Benjamin, Attorney for Defendant
213. Sanchez, Connie, Defendant
214. Scoon, Cecile, Plaintiff-Appellee
215. Scott, Dale, Attorney for Defendant
216. Scott, Joe, Defendant,
217. Scott, Lori, Defendant
218. Scott, Sharion, Attorney for Plaintiffs-Appellees
219. Segarra, Esperanza, Attorney for Plaintiffs-Appellees
220. Seyfang, Amanda, Defendant
221. Shannin Law Firm PA, Attorneys for Defendants
222. Shannin, Nicholas, Attorney for Defendant
223. Shapiro, Peter, Attorney for Plaintiffs-Appellees
224. Shaud, Matthew, Attorney for Defendant
225. Shearman, Robert, Attorney for Defendants
226. Sherman, Jonathan, Attorney for Plaintiffs-Appellees
227. Shutts & Bowen LLP, Attorneys for Intervenor-Defendants-Appellants
228. Siegel, Rachel, Attorney for Defendant-Appellant
229. Sivalingam, Danielle, Attorney for Plaintiffs-Appellees
230. Smith, Diane, Defendant
231. Southerland, Dana, Defendant
232. Southern Poverty Law Center, Attorneys for Plaintiffs-Appellees
233. Stafford, David, Defendant
234. Stafford, William, Attorney for Defendants-Appellants
235. Stamoulis, Paula, Defendant

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236. Stewart, Gregory, Attorney for Defendant
237. Stiefel, Aaron, Attorney for Plaintiffs-Appellees
238. Swain, Robert, Attorney for Defendant
239. Swan, Leslie, Defendant
240. Tarpley, Carlton, Attorney for Plaintiffs-Appellees
241. Theodore, Elisabeth, Attorney for Plaintiffs-Appellees
242. Todd, Stephen, Attorney for Defendant
243. Trigg, Amia, Attorney for Plaintiffs-Appellees
244. Tuetken, Adam, Attorney for Amicus
245. Turner, Ron, Defendant
246. UnidosUS, Plaintiff-Appellee
247. Valdes, Michael, Attorney for Defendant
248. Vicari, Kelly, Attorney for Defendant
249. Vigil, Angela, Attorney for Plaintiffs-Appellees
250. Villane, Tappie, Defendant
251. Volusia County Attorney, Attorneys for Defendant
252. Walker, Gertrude, Defendant
253. Walker, Mark, District Court Judge
254. Washington, D.C., Office of the Attorney General, Attorneys for Amicus
255. Wermuth, Frederick, Attorney for Plaintiffs-Appellees
256. Whitaker, Henry C., Solicitor General of Florida
257. White, Christina, Defendant
258. Wilcox, Wesley, Defendant
259. Wright, Brenda, Attorney for Plaintiffs-Appellees
260. Zacherl, Frank, Attorney for Intervenor-Defendants-Appellants
261. Zender, Thomas, Attorney for Plaintiffs-Appellees




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      The Republican National Committee and National Republican Senatorial Com-

mittee have no parent corporation, and no corporation owns 10% or more of their

stock. No publicly traded company or corporation has an interest in the outcome of

this case or appeal. Per Circuit Rule 26.1-2(c), appellants certify that the CIP contained

in this motion is complete.

 Dated: July 11, 2022                           /s/ Cameron T. Norris
                                               Counsel for RNC and NRSC




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               STATEMENT REGARDING ORAL ARGUMENT
      These consolidated cases are scheduled for oral argument on September 15 in

Miami. The RNC and NRSC agree with the Court that this appeal warrants argument.

The district court enjoined Florida’s duly enacted election laws, imposed the draconian

remedy of preclearance, and transgressed important precedents of this Court and the

Supreme Court. Those errors led the motions panel to stay the district court’s decision,

and those errors should lead the merits panel to hear argument and then reverse.




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                                   INTRODUCTION
       The State’s brief explains why the district court’s finding of intentional discrimi-

nation and its remedy of preclearance should be reversed. The RNC and NRSC join

that brief in full. They write to address the rest of the district court’s decision—specif-

ically, its invalidation of SB90’s “registration disclaimer” and “solicitation” provisions

under the First and Fourteenth Amendments. See League of Women Voters of Fla., Inc. v.

Fla. Sec’y of State (LWVF), 32 F.4th 1363, 1369 (11th Cir. 2022) (using this terminology).


                         JURISDICTIONAL STATEMENT
       The district court had jurisdiction under 28 U.S.C. §1331 because the plaintiffs

alleged violations of the U.S. Constitution. This Court has jurisdiction under 28 U.S.C.

§1291 because appellants timely appealed from final, post-trial judgments that disposed

of all claims. The district court entered those judgments on March 31, and appellants

filed notices of appeal on April 7. See, e.g., Docs. 665-67.*


                              STATEMENT OF ISSUES
       This brief addresses two issues:

       I. The district court enjoined SB90’s registration-disclaimer provision. That pro-

vision was then repealed by the Florida legislature, and all agree that the repeal moots

the plaintiffs’ challenges. When a claim becomes moot on appeal due to an intervening



       *
          All “Doc.” citations refer to the docket entries for League of Women Voters of
Florida, Inc. v. Byrd, No. 4:21-cv-186-MW-MAF (N.D. Fla.).

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repeal, this Court “ordinarily” dismisses the appeal, vacates the district court’s judg-

ment, and remands with instructions to dismiss. Flanigan’s Enters., Inc. of Ga. v. City of

Sandy Springs, 868 F.3d 1248, 1271 n.24 (11th Cir. 2017) (en banc); see United States v.

Munsingwear, Inc., 340 U.S. 36, 39-40 (1950). Should the Court follow that ordinary prac-

tice here?

       II. The district court enjoined SB90’s changes to the definition of “solicitation,”

which clarified that solicitation includes “engaging in any activity with the intent to in-

fluence or effect of influencing a voter.” Fla. Stat. §102.031(4)(b). This phrase is sur-

rounded by other examples of third parties giving or taking things from voters in line,

like “seeking … any … opinion,” “distributing … any … handout,” or “selling … any

item.” Id. And it has countless lawful applications, like giving voters cash, peddling

goods, electioneering, and even distributing food and water. Did the district court err

by deeming this provision facially overbroad and vague?


                           STATEMENT OF THE CASE
       SB90, an election-integrity bill that Florida passed after the 2020 election, has

thirty-two substantive provisions. Most were never challenged. Of the ones that were,

the district court invalidated four: a dropbox provision, registration-delivery provision,

registration-disclaimer provision, and definition of solicitation. LWVF, 32 F.4th at

1369. All but the registration disclaimer were enjoined under a theory of intentional

discrimination—incorrectly, as the State’s brief explains. The registration disclaimer and



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solicitation definition were also enjoined under the First and Fourteenth Amendments.

See Doc. 665 at 189-218 (registration disclaimer); id. at 136-88 (solicitation definition).

This brief addresses those rulings.

I.     The registration disclaimer
       SB90 required third-party voter-registration organizations (or “3PVROs,” for

short) to provide certain information to applicants. Specifically, if 3PVROs collected

completed voter-registration applications, the 3PVROs had to disclose that they “might

not deliver” applications within the deadline, that applications can instead be returned

“in person or by mail,” and that applicants can go online to register or check whether

their applications were timely delivered. SB90 §7.

       Four groups of plaintiffs challenged this disclaimer, and they all made the same

argument: that the disclaimer compels speech in violation of the First Amendment. The

district court denied plaintiffs’ motion for summary judgment. Doc. 380 at 21. Months

before that decision, SB524 was introduced in the Florida Senate. CS/CS/SB 524: Elec-

tion Administration – Bill History, Fla. Senate, bit.ly/3IjYlA6 (last visited July 11, 2022)

(Bill History). An amended version of SB524 passed the senate in March 2022. Id. One

provision eliminates the registration disclaimer and replaces it with a requirement that

the State itself, rather than 3PVROs, provide the disclaimer. SB524 §7; §5.

       The district court conducted a Zoom trial in February 2022. After the trial but

before the decision, the Florida House also passed SB524. See Bill History. The district

court then ordered the parties to brief how SB524 would affect the case “in the event


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the Governor signs the legislation into law.” Doc. 659. In their briefs, both sides agreed

that SB524 would moot the plaintiffs’ challenges to the disclaimer. See Doc. 661 at 7

(plaintiffs: “[I]f and when SB 524 takes effect, Plaintiffs’ challenges to the Registration

Disclaimer Provision will become moot.”); Doc. 662 at 1 (defendants: “If … Senate Bill

524 … becomes law, all claims related to the … disclaimer provision would become

moot.”).

       Yet the district court issued its decision before the governor signed SB524. “All

agree,” the court acknowledged, “that SB 524 moots Plaintiffs’ claims challenging the

registration disclaimer.” Doc. 665 at 190. But the court said that it had “waited” for the

governor to sign the bill and could “wait no longer.” Id. Applying strict scrutiny, the

Court ruled that the registration disclaimer unlawfully compels speech. Id. at 218. The

court even cited SB524’s forthcoming changes as proof that the registration disclaimer

“is not narrowly tailored.” Id. at 215. Though the court thought “this issue will likely

become moot soon,” id. at 190, its decision blocked that from happening. Its preclear-

ance remedy banned Florida from passing any law “governing 3PVROs,” including

SB524’s repeal of the disclaimer, without the court’s approval. Id. at 288. So even after

Governor DeSantis signed SB524 in late April, the law could not go into effect imme-

diately. (The plaintiffs later notified the district court that they did not oppose preclear-

ance for the relevant part of SB524. See Doc. 682.)

       This Court stayed the district court’s decision, including its preclearance remedy,

in early May. That stay, the Court acknowledged, allowed SB524 to “go into effect.”

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LWVF, 32 F.4th at 1372 n.9. The plaintiffs’ challenges to the registration disclaimer

thus became “moo[t],” and this Court “decline[d] to weigh in” on that provision. Id. In

light of this Court’s decision, appellants filed a motion asking the Court to vacate the

district court’s ruling on the disclaimer and to remand with instructions to dismiss the

plaintiffs’ challenges as moot. (Because the registration disclaimer is the only provision

at issue in No. 22-11133, appellants also asked the Court to dismiss that appeal in full.)

See Mot. for Partial Dismissal/Vacatur (May 24, 2022). A motions panel declined to

resolve appellants’ motion and instead ordered that it be carried with the case. See Order

(June 9, 2022).

II.    The solicitation definition
       Another provision of SB90—which has not been repealed—amends Florida’s

definition of “solicitation.” Florida makes it illegal to “solicit voters” either “inside the

polling place” or “within 150 feet” of a polling place, early voting site, or office where

vote-by-mail ballots are printed. Fla. Stat. §102.031(4)(a). SB90 amended this provision

by specifying that it also applies within 150 feet of a ballot “drop box” and by amending

the definition of “solicit” to include other activities like giving items to voters:

       For the purpose of this subsection, the terms “solicit” or “solicitation”
       shall include, but not be limited to, seeking or attempting to seek any vote,
       fact, opinion, or contribution; distributing or attempting to distribute any
       political or campaign material, leaflet, or handout; conducting a poll ex-
       cept as specified in this paragraph; seeking or attempting to seek a signa-
       ture on any petition; and selling or attempting to sell any item; and en-
       gaging in any activity with the intent to influence or effect of influ-
       encing a voter. The terms “solicit” or “solicitation” may not be construed
       to prohibit an employee of, or a volunteer with, the supervisor from


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      providing nonpartisan assistance to voters within the no-solicitation
      zone such as, but not limited to, giving items to voters, or to prohibit
      exit polling.

SB90 §29 (emphasis added).

      Other States have similar laws. With narrow exceptions, New York makes it a

crime to “induce” voting by giving an individual any “refreshment or provision.” N.Y.

Elec. Law §17-140. Delaware also prohibits giving any “valuable thing” to “induc[e]”

or “influenc[e]” someone’s decision to vote or not vote. 15 Del. Code §3167. And Mon-

tana erects a 100-foot buffer zone where campaigns cannot give voters “food, drink, or

anything of value,” even if the campaigns do so silently or without electioneering. Mont.

Code §13-35-211(2). In Minnesota, third parties cannot even “stand” within 100 feet of

a polling place. Minn. Stat. §204C.06(1).

      These laws serve important purposes. They allow a State to establish “peace and

order around” their “polling places.” Citizens for Police Account. Pol. Comm. v. Browning,

572 F.3d 1213, 1220 (11th Cir. 2009). They “preserv[e] the integrity and dignity of the

voting process and encourag[e] people to come and to vote.” Id. They protect voters

from “confusion,” “undue influence,” and “fraud,” as well as “pressure” and “intimi-

dation.” Burson v. Freeman, 504 U.S. 191, 199-201 (1992) (plurality op.); Brnovich v. DNC,

141 S. Ct. 2321, 2325 (2021). And they “ensure that partisan discord [does] not follow

the voter up to the voting booth.” Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1888

(2018). This Court has long recognized the need for “a zone of order around the polls”

because it is “probable that some—maybe many—voters … will refrain from partici-

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pating in the election process merely to avoid the … commotion.” Citizens for Police

Account., 572 F.3d at 1220-21. It thus upheld the pre-SB90 version of Florida’s solicita-

tion ban against First Amendment challenge. See id. at 1222.

       In Florida, the need to update the existing solicitation law was strong. Before

SB90 was enacted, agitators at polling places in Florida were broadcasting messages

over bullhorns and initiating fights. Tr. 1388:9-14. It was also difficult for election offi-

cials to tell whether a given interaction between third parties and voters involved im-

proper electioneering, fraud, or undue influence. As the supervisor of Miami-Dade

County explained, during voting “it can be impossible to discern what is solicitation”

from “what is not.” Tr. 1376:15-1377:3. She encountered people who would “try to

take advantage” of loopholes in the law by “say[ing],” for instance, “Oh, no, I’m just

going to the bathroom, and then, you know, they start talking to voters.” Id. Similarly,

when polling places were in libraries, people would “pretend like they are just going to

be a patron reading a book … but then … leave campaign materials everywhere.” Id.

The supervisor explained that it’s “impossible with the volume of sites and the volume

of people that we are dealing with out there to discern who is engaging in activity to

influence, who is not, … who is providing nonpartisan assistance, who is not.” Id. SB90

thus strengthened Florida’s solicitation ban by expressly eliminating more opportunities

for unlawful solicitation and evasion.

       Nevertheless, three groups of plaintiffs challenged SB90’s amended definition of

solicitation—specifically, its addition of the phrase “engaging in any activity with the

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intent to influence or effect of influencing a voter.” Fla. Stat. §102.031(4)(b). They took

“no issue” with the rest of Florida’s ban. Doc. 665 at 173. Regarding the new phrase,

the plaintiffs complained that it bans them from distributing food and water to Florid-

ians who are waiting in line to vote on election day. Id. at 12. The plaintiffs call this

practice “line warming.” Id.

       The phrase added by SB90 is, according to the plaintiffs, unconstitutional under

four theories: distributing food and water is protected speech; banning voter assistance

contradicts the Voting Rights Act, 52 U.S.C. §10508; the new phrase is overbroad; and

the new phrase is facially vague. The district court granted summary judgment against

the plaintiffs to the extent that their first claim raised a facial challenge. See Doc. 380 at

20-21. But after trial, the district court ruled for the plaintiffs on their overbreadth and

facial vagueness claims. The court declined to address their remaining claims. See Doc.

665 at 218 n.65. It permanently enjoined the supervisors of ten counties—the ones

where the plaintiffs said they wanted to engage in line warming—from enforcing the

challenged phrase. Id. at 187.

       The district court first held that the challenged phrase was facially vague. The

court acknowledged that “some conduct clearly falls within the definition’s scope.” Id.

at 172. For example, “[b]ribing someone” or “asking every voter in line to vote for or

against a certain candidate” clearly count. Id. But the definition was still unconstitution-

ally vague, according to the court, because it “outlaws ‘any activity’ within a 150-foot

zone if you intend that it influences a voter or it has the unintended effect of influencing

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a voter.” Id. at 173. The court faulted the legislature for not defining the word “activity”

and for using the broad word “any.” Id. at 174-75. It also thought “the words around

the challenged language” provided “no clarification or limitation” and dismissed the

relevance of “the plain or ordinary meaning” of the word “solicit.” Id. at 175, 173. It

hypothesized several close cases that could test the meaning of the word “influence,”

such as “a person who helps an unsteady voter to the door” or a “jogger wearing a

‘MAGA’ t-shirt” who passes by. Id. at 177-78. And it expressed concerns about the

word “effect,” which it deemed subjective. Id. at 178. Finally, citing testimony from

trial, the court said the challenged phrase was unconstitutionally vague because super-

visors had not come to a “clear consensus” on what it means. Id. at 178-79. It acknowl-

edged, though, that several supervisors testified that the definition would not change

what they were already doing prior to 2020. Id. at 179-80.

       The district court then held that the challenged phrase was overbroad under the

First Amendment. It acknowledged that this Court and the Supreme Court have upheld

laws that prohibit much of the same conduct—namely, Tennessee’s ban on the “solic-

itation of votes” within a 100-foot buffer zone, and Florida’s “ban on signature solici-

tation targeting voters exiting polling places.” Id. at 183 (citing Burson, 504 U.S. at 193,

and Citizens for Police Account., 572 F.3d at 1215). But it reasoned that this case was more

like Minnesota Voters Alliance, where the Supreme Court invalidated a ban on wearing

“political” clothing inside polling places. Id. at 183-84. Like Minnesota’s law, the district




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court reasoned, the challenged phrase in Florida’s law is too ambiguous and covers too

much protected speech. Id. at 184.

       This Court stayed the district court’s decision pending appeal. The court’s anal-

ysis was “sufficiently vulnerable” to reversal, this Court explained, because appellants

have a “substantial argument” that the solicitation definition “passes constitutional

muster.” LWVF, 32 F.4th at 1372, 1374. “[A]s to vagueness,” this Court credited the

appellants’ argument that the challenged phrase is “limited by the surrounding examples

of prohibited conduct.” Id. at 1374 (citing United States v. Williams, 553 U.S. 285, 294

(2008)). “[T]urning to overbreadth,” this Court observed that the law requires any over-

breadth to be “‘substantial,’” and yet the district court “failed to contend with any of

the [provision’s] ‘plainly legitimate’ applications.” Id. (quoting Williams, 553 U.S. at 292).


                              STANDARD OF REVIEW
       After a bench trial, this Court reviews legal conclusions de novo and factual find-

ings for clear error. Gelber v. Akal Sec., Inc., 14 F.4th 1279, 1288 n.10 (11th Cir. 2021).

Whether this Court should grant the equitable remedy of vacatur is committed to its

discretion. Azar v. Garza, 138 S. Ct. 1790, 1793 (2018). Whether a statute is “unconsti-

tutionally vague or overbroad” is a legal conclusion that this Court “reviews de novo.”

United States v. Woods, 684 F.3d 1045, 1057 n.10 (11th Cir. 2012).




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                            SUMMARY OF ARGUMENT
       This Court predicted, at the stay stage, that the district court’s rulings on the

registration disclaimer and solicitation definition were vulnerable to reversal. That pre-

diction was correct. The registration disclaimer is now gone. And the solicitation defi-

nition has many lawful applications and a core lawful meaning. Neither provision

should remain enjoined. And no part of the district court’s decision should be affirmed.

       I. This Court should vacate the district court’s ruling on the registration dis-

claimer. The parties’ dispute over that provision is moot. Now that this Court allowed

SB524 to go into effect, everyone agrees that the disclaimer is gone, its replacement is

constitutional, and this aspect of the case is over. The only question is whether this

Court will vacate the district court’s decision under Munsingwear. It should. The plaintiffs

cite no case where the legislature repealed a challenged law on appeal, the appeal became

moot, and this Court did not vacate the district court’s decision. That scenario is com-

mon and represents what the caselaw calls mootness through “happenstance”: Appel-

lants are not the Florida legislature (or even the governor), and they did not cause SB524

to pass or the registration disclaimer to be repealed. When mootness occurs through

happenstance, the equities favor wiping the slate clean. It is not fair to let the district

court’s decision spawn any legal consequences—such as a justification for attorney’s

fees against the State, or an authority for the plaintiffs to use against intervenors in other

pending litigation—when appellants had no opportunity to challenge that decision on

appeal.


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       II. As for SB90’s amendment to the definition of “solicitation,” the district

court’s decision should be reversed. The challenged phrase is not overbroad. It has

countless lawful applications and virtually no unlawful ones. The plaintiffs claim only

one unlawful application—their specific “line warming” activities—but one unlawful

application does not an overbroad statute make. And that application is lawful too.

Giving people food and water is pure conduct, in a nonpublic forum, that receives at

most light scrutiny, and is so rooted in history, tradition, and weighty state interests that

it would survive even strict scrutiny. Nor is the challenged phrase facially vague. Espe-

cially when read with its surrounding context, the phrase has a discernible core: It stops

third parties from influencing Floridians’ decision whether or how to vote by, right

before they enter the polling place, approaching them and giving them things or asking

them for things. It is certainly not vague as applied to the plaintiffs’ asserted desire to

give food and water to voters in the no-solicitation zone.

       In short, this Court should vacate on the registration-disclaimer provision, re-

verse on the solicitation definition, and—for the reasons in the State’s brief—reverse

on everything else.


                                      ARGUMENT
       Neither the district court’s ruling on SB90’s registration disclaimer nor its ruling

on SB90’s solicitation definition can stand. The former should be vacated as moot. The

latter should be reversed on the merits.



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I.     The district court’s decision enjoining the registration disclaimer
       should be vacated under Munsingwear.
       The parties’ dispute over the registration disclaimer became moot when the leg-

islature repealed that provision while this appeal was pending. The “normal rule” when

this kind of repeal happens is that the parties are put back on a level playing field by

vacating the lower court’s decision. Camreta v. Greene, 563 U.S. 692, 713 (2011). The

normal rule controls here.

       A.     Now that the legislature has repealed it, the parties’ dispute
              over the registration disclaimer is moot.
       This Court already found that the plaintiffs’ challenges to the registration dis-

claimer are moot. When this Court stayed the district court’s decision, it recognized that

SB524 would “go into effect.” LWVF, 32 F.4th at 1372 n.9. This Court also observed

that, because SB524 totally repeals the challenged disclaimer, its enactment “moot[s]

any challenge to the Registration-Disclaimer Provision.” Id. Indeed, “‘[t]his Court and

the Supreme Court have repeatedly held that the repeal or amendment of an allegedly

unconstitutional statute moots legal challenges to the legitimacy of the repealed legisla-

tion.’” Tanner Advert. Grp., LLC v. Fayette Cnty., 451 F.3d 777, 789 (11th Cir. 2006) (en

banc); accord Diffenderfer v. Cent. Baptist Church of Miami, Inc., 404 U.S. 412, 414-15 (1972)

(“The only relief sought in [Plaintiff’s] complaint was a declaratory judgment that the

now repealed Fla. Stat. … is unconstitutional … and an injunction against its application

…. This relief is, of course, inappropriate now that the statute has been repealed.”).




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       The plaintiffs agree. Both here and below, they conceded that the enactment of

SB524 would moot their challenges to the registration disclaimer. See Opp. to Mot. to

Vacate 1, 3; Doc. 661 at 7. The plaintiffs invoke no exception to mootness (like volun-

tary cessation or capable of repetition), and none applies. SB524 has taken effect, so the

plaintiffs’ challenges to the disclaimer that it repealed are now moot.

       B.     The equities, as they normally do, favor vacatur.
       Because the parties’ dispute over the registration disclaimer is moot, this Court

should dismiss one of these four consolidated appeals. In No. 22-11133, the Harriet

Tubman plaintiffs challenged “only the Registration-Disclaimer Provision.” LWVF, 32

F.4th at 1369 n.3. Because the sole claim in that appeal is now moot, that entire appeal

should be dismissed. See Tanner Advert., 451 F.3d at 791. The plaintiffs do not disagree.

See Opp. to Mot. to Vacate 1.

       This Court should also vacate the district court’s judgment concerning the regis-

tration-disclaimer provision in all four appeals. “When a case has become moot, [this

Court] ordinarily dismiss[es] the appeal, vacate[s] the district court’s judgment, and re-

mand[s] with instructions to dismiss the case.” Flanigan’s, 868 F.3d at 1271 n.24. Both

this Court and the Supreme Court have repeatedly ordered Munsingwear vacatur in pre-

cisely these circumstances—where a law is challenged, enjoined, and then repealed

while the appeal is pending. See, e.g., N.Y. State Rifle & Pistol Ass’n, Inc. v. City of N.Y.,

140 S. Ct. 1525, 1526-27 (2020); Flanigan’s, 868 F.3d at 1271 & n.24; Bowen v. Kizer, 485

U.S. 386, 387 (1988); U.S. Dep’t of Treasury v. Galioto, 477 U.S. 556, 559-60 (1986); Church


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of Scientology Flag Serv. Org., Inc. v. City of Clearwater, 777 F.2d 598, 605 & n.19 (11th Cir.

1985); Diffenderfer, 404 U.S. at 414-15. In Munsingwear itself, “[t]he suit for injunctive

relief … became moot on appeal because the regulations sought to be enforced … were

annulled.” U.S. Bancorp Mortg. Co. v. Bonner Mall P’ship, 513 U.S. 18, 25 n.3 (1994) (citing

Fleming v. Munsingwear, Inc., 162 F.2d 125, 127 (8th Cir. 1947)).

       The plaintiffs argue that the exception to vacatur recognized in Bancorp applies

here, but they are mistaken. The Bancorp exception does not apply when the legislature

repeals a challenged statute on appeal. If it did, then all the cases cited above were

wrongly decided. Bancorp does not apply unless a case becomes moot through a “vol-

untary action” by the losing party, like a “settlement.” Id. at 24-25. But appellants did

not take voluntary action to moot this case; the Florida legislature did.

       Vacatur is appropriate here because “the mootness was … caused by the state

legislature’s amendment … and not by the actions of any of the defendants before this

court, all of whom are state executive officials.” Valero Terrestrial Corp. v. Paige, 211 F.3d

112, 121 (4th Cir. 2000). And two are county executive officials. The “executive branch”

is like “a party who finds its case mooted on appeal by ‘happenstance,’ rather than

events within its control.” Nat’l Black Police Ass’n v. D.C., 108 F.3d 346, 353 (D.C. Cir.

1997) (quoting Munsingwear, 340 U.S. at 39). The Republican intervenors, especially, are

not the legislature or the State; so “any doubt about the [state] appellants’ entitlement

to vacatur is removed by intervenor[s’] entitlement thereto.” Humane Soc. of U.S. v.

Kempthorne, 527 F.3d 181, 187 (D.C. Cir. 2008). Because “the acts of the legislature are

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not the acts of executive branch agencies, states, or private parties,” the Bancorp excep-

tion does not apply here. Rio Grande Silvery Minnow v. Bureau of Reclamation, 601 F.3d

1096, 1131-33 (10th Cir. 2010).

       Even if the Bancorp exception applied, the equities would still warrant vacatur. See

Hartford Cas. Ins. Co. v. Crum & Forster Specialty Ins. Co., 828 F.3d 1331, 1336 (11th Cir.

2016) (declining to apply Bancorp, even in a case involving a settlement, because the

equities warranted vacatur). There is “no evidence indicating that the legislation was

enacted in order to overturn an unfavorable precedent.” Nat’l Black Police Ass’n, 108

F.3d at 351. The Florida legislature passed SB524 before the district court ruled that the

disclaimer was unconstitutional. And this Court must presume that the Florida legisla-

ture repealed the disclaimer not to “manipulat[e]” the judicial process, but out of legit-

imate legislative considerations like promoting uniformity in the voter-registration pro-

cess. See id.; Khodara Env’t, Inc. ex rel. Eagle Env’t L.P. v. Beckman, 237 F.3d 186, 195 (3d

Cir. 2001). The “presumption of integrity that attaches to legislative action” and the

“difficulties that separation of powers creates for attributing one branch’s actions to

another” require as much. Nat’l Black Police Ass’n, 108 F.3d at 354.

       Vacatur also would “serve the public interest by furthering the traditional pur-

pose of the [Munsingwear] doctrine: clearing the path for future relitigation of the issues.”

Sands v. NLRB, 825 F.3d 778, 786 (D.C. Cir. 2016). Vacating the district court’s decision

promotes the “well-established principle that courts should avoid unnecessarily decid-

ing constitutional questions.” Nat’l Black Police Ass’n, 108 F.3d at 353. And it

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“diminishes the chances that the [district court’s decision] can be used for [its] persua-

sive value against any of the parties in subsequent proceedings.” Rio Grande Silvery Min-

now, 601 F.3d at 1133. Litigants are currently citing the district court’s decision against

the Republican intervenors in similar litigation in Georgia, for example. See, e.g.,

VoteAmerica v. Raffensperger, Doc. 103 at 15-16, No. 1:21-cv-1390 (N.D. Ga. Apr. 26,

2022).

         In sum, “the general rule in favor of vacatur still applies” when “mootness results

on appeal because of legislative action.” Nat’l Black Police Ass’n, 108 F.3d at 354. This

Court should vacate the district court’s judgment on the registration disclaimer and

order the district court to dismiss the plaintiffs’ challenges to that provision as moot.

Flanigan’s, 868 F.3d at 1271 n.24. And it should dismiss appeal No. 22-11133 outright

as moot.

II.      The district court’s decision enjoining the solicitation definition
         should be reversed.
         The district court ruled that SB90’s amendment to the definition of “solicitation”

was overbroad and void for vagueness under the First and Fourteenth Amendments.

Reviewing de novo, Woods, 684 F.3d at 1057 n.10, this Court should reverse both rul-

ings.

         A.    The solicitation definition is not overbroad.
         Overbreadth requires that a statute violate the Free Speech Clause in a substantial

number of applications. But the solicitation definition has countless lawful applications:

to pure conduct, to speech that gets lower levels of protection, to speech in nonpublic

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forums, to speech where the State can satisfy the appropriate level of scrutiny, and

more. In fact, the statute is constitutional even as applied to the specific “line warming”

activities that the plaintiffs identify. It has no unconstitutional applications, let alone

enough to warrant the strong medicine of wholesale invalidation for overbreadth.

       1. Overbreadth claims are a special kind of facial challenge peculiar to the First

Amendment. For facial challenges under other provisions of the Constitution, a plain-

tiff must prove that the challenged law is unconstitutional as applied to him and uncon-

stitutional in all other applications. See United States v. Sineneng-Smith, 140 S. Ct. 1575, 1585

(2020) (Thomas, J., concurring). But for overbreadth challenges under the First Amend-

ment, a plaintiff needn’t prove that the challenged law is unconstitutional as applied to

him and must show only that the challenged law is unconstitutional in a substantial num-

ber of applications. See id. at 1583-85.

       Despite relaxing some of the requirements for facial challenges, the overbreadth

doctrine remains “strong medicine that is used sparingly and only as a last resort.” N.Y.

State Club Ass’n, Inc. v. City of N.Y., 487 U.S. 1, 14 (1988) (cleaned up). The challenger

carries the burden of proving overbreadth. United States v. Fleury, 20 F.4th 1353, 1362

(11th Cir. 2021). And “succeeding” on that showing “is not easy to do.” Cheshire Bridge

Holdings, LLC v. City of Atlanta, Ga., 15 F.4th 1362, 1371 (11th Cir. 2021). For good

reason: “invalidating a law that in some of its applications is perfectly constitutional—

particularly a law directed at conduct so antisocial that it has been made criminal—has

obvious harmful effects.” Williams, 553 U.S. at 292.

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       Accordingly, the Supreme Court has “vigorously” enforced the rule that a stat-

ute’s unconstitutional applications be “substantial,” both “in an absolute sense” and “rel-

ative to the statute’s plainly legitimate sweep.” Id. It’s not enough that a statute has

“‘some impermissible applications’” or has “certain provisions” that “reach too far.”

Cheshire Bridge, 15 F.4th at 1377. Nor need a State prove that “the ‘vast majority’ of a

statute’s applications [are] legitimate.” FEC v. Wis. Right to Life, Inc., 551 U.S. 449, 476

n.8 (2007) (op. of Roberts, C.J.). “‘[P]erfection is not required.’” Cheshire Bridge, 15 F.4th

at 1377. After all, “‘whatever overbreadth may exist’” can be “‘cured through case-by-

case analysis’” later through as-applied challenges, when and if they ever arise. N.Y.

State Club Ass’n, 487 U.S. at 14.

       2. The solicitation definition is not substantially overbroad. As this Court ob-

served at the stay stage, the district court “failed to contend with any of the ‘plainly

legitimate’ applications” of that statute. LWVF, 32 F.4th at 1374. And there are many.

Within the 150-foot buffer zone, the phrase “any activity with the intent to influence

or effect of influencing a voter” would cover, for example:

       • “[b]ribing someone to vote for your preferred candidate,” Doc. 665 at
         172
       • “asking every voter in line to vote for or against a certain candidate,”
         id.
       • threatening to hurt voters if they do not vote a certain way
       • pulling a fire alarm to make voters flee
       • handing out cash to voters
       • announcing (falsely) that the voting machines are broken
       • brandishing guns to intimidate voters
       • inviting voters to leave the line to go to a party

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       •   stealing voters’ driver’s licenses and running away
       •   dragging voters into the polling place against their will
       •   plying voters with alcohol or tobacco
       •   offering to go on a date with voters if they select a certain candidate
       •   making loud and annoying noises to keep voters away
       •   handing out food laced with laxatives to voters
       •   parking a car to obstruct voters’ access to the polls

       Indeed, “‘it is plain from the statute’s text that it covers countless amounts of

unprotected conduct.’” Fleury, 20 F.4th at 1363. Most applications of the statute would

regulate pure conduct, which isn’t protected by the First Amendment to begin with.

Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973). Even if some applications covered

speech, countless applications would survive the applicable level of scrutiny. The First

Amendment allows Florida to create a buffer zone where no one can electioneer, cam-

paign, or make other verbal attempts to persuade voters how to vote—either because

these laws survive strict scrutiny, see Burson, 504 U.S. at 211 (plurality op.), or because

they reasonably regulate speech in a nonpublic forum, see id. at 214-16 (Scalia, J., con-

curring in the judgment). For the same reasons, Florida can ban other forms of political

speech in the buffer zone, even if that speech is unrelated to voting or the issues and

candidates on the ballot. See Citizens for Police Account., 572 F.3d at 1219. Still other ap-

plications of the statute would permissibly regulate less-protected forms of expression,

like commercial speech. See Ohralik v. Ohio State Bar Ass’n, 436 U.S. 447, 455-64 & n.20

(1978). Even if some applications remained that actually violated the First Amendment,

those applications would be dwarfed by the many lawful ones.



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       On the flip side, “most protected activity” is unaffected by the solicitation defi-

nition. Cheshire Bridge, 15 F.4th at 1378. Persons interested in speaking about the elec-

tion, informing voters about the resources available to them, encouraging people to

vote, expressing appreciation for voting, or even providing food, water, or other items

can do so. They simply must stay 150 feet away from voting places a few days a year.

That restriction is a tiny portion of their overall freedom to speak. And it’s a small price

to pay to give voters a moment of peace while they prepare to exercise their right to

vote. See Citizens for Police Account., 572 F.3d at 1221.

       The district court didn’t meaningfully disagree. It admitted that “the statute crim-

inalizes a large amount of unprotected activity.” Doc. 665 at 182-83. The court stressed

the supposed “ambiguity” and breadth of the phrase “any activity with the intent to

influence or effect of influencing a voter” and fretted that the phrase could cover

“speech.” Id. at 183. But that phrase is not so broad and not so ambiguous in context.

See infra II.B. And to the extent it covers speech, the district court failed to explain why

it would unconstitutionally regulate that speech. If scenarios exist where the provision reg-

ulates speech unconstitutionally, those few-and-far-between cases do not justify the

strong medicine of facial overbreadth. The plaintiffs “fail[ed] to describe” these scenar-

ios in sufficient detail. Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442,

449 n.6 (2008). And the record contains “no evidence” that the solicitation definition

has “been applied in the scenarios posited.” Cheshire Bridge, 15 F.4th at 1377. “[A]ny




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potential overreach” thus should be “handled on a case-by-case basis,” rather than strik-

ing down the whole statute now. Id.

       3. In fact, the plaintiffs provided only one example of an allegedly unconstitu-

tional application of the solicitation definition: its application to their “line warming”

activities. According to the plaintiffs, they want to give voters food, water, and other

tangible items within the 150-foot buffer zone. This activity, they say, is a form of ex-

pressive conduct that is protected by the First Amendment. It is how they allegedly

convey the message that voters’ “determination to exercise the franchise is important

and celebrated,” that voters should “stick it out and stay in line,” or that the plaintiffs

are there for “support, solidarity, and celebration.” Doc. 665 at 164-67. This theory has

many problems.

       a. For starters, even if this kind of “line warming” were speech that Florida could

not regulate within the buffer zone, the plaintiffs would have identified only one uncon-

stitutional application of the statute. A statute that has “‘some impermissible applica-

tions’” is not facially overbroad. Cheshire Bridge, 15 F.4th at 1377.

       b. Nor does the plaintiffs’ argument meaningfully add to the “balance” between

the statute’s “legitimate applications” and any “unconstitutional applications.” LWVF,

32 F.4th at 1374. As the district court acknowledged when it granted partial summary

judgment against the plaintiffs, see Doc. 380 at 12, the distribution of food and water is

usually not protected speech. See Ft. Lauderdale Food Not Bombs v. City of Ft. Lauderdale

(Food Not Bombs II), 11 F.4th 1266, 1292 (11th Cir. 2021) (“most social-service food

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sharing events will not be expressive”); id. (“the provision of clothing, shelter, and med-

ical care … usually do not involve expressive conduct”).

       Even if distributing food and water to voters in the buffer zone could be speech

in certain contexts, many of those contexts would be ones that Florida could constitu-

tionally regulate. For example, the plaintiffs do not contest the statute’s application to

candidates and campaigns distributing food and water to voters in line. See Ellis v. Meeks,

957 S.W.2d 213, 216 (Ky. 1997) (election overturned because candidate was handing

out chicken to voters at the polling place). The plaintiffs do not contest the statute’s

application to commercial vendors giving out free samples of food and water in line either.

Nor do the plaintiffs say they could legally distribute food and water to voters who are

“inside the polling place.” Fla. Stat. §102.031 (emphasis added); see Minn. Voters Alliance,

138 S. Ct. at 1886. The plaintiffs also do not contend that the distribution of food and

water would communicate any discernible message within 150 feet of a dropbox, an

office where vote-by-mail ballots are requested or printed, or a polling place where the

lines aren’t long. Yet the definition they challenge applies to all those places as well. See

Fla. Stat. §102.031(4)(a).

       c. It’s also worth noting that the solicitation definition is not unconstitutional

even in the narrow context that the plaintiffs identify. Though not necessary for defeat-

ing their overbreadth claim, the fact that even the plaintiffs’ hypothetical applications

are “unproblematic” helps illustrate why the solicitation provision is not substantially

overbroad. Williams, 553 U.S. at 305.

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       i. The plaintiffs’ identified conduct is not expressive. The First Amendment does

not protect conduct simply because “the person engaging in [it] intends thereby to ex-

press an idea.” Rumsfeld v. FAIR, 547 U.S. 47, 65-66 (2006). Such an “expansive” defi-

nition would allow a “limitless variety of conduct” to be labeled speech, since it’s “pos-

sible to find some kernel of expression in almost every activity.” Barnes v. Glen Theatre,

Inc., 501 U.S. 560, 570 (1991) (cleaned up). Instead, conduct is protected only when it

is “inherently expressive.” Texas v. Johnson, 491 U.S. 397, 404 (1989). Conduct is inher-

ently expressive when the person engaging in it “inten[ds] to convey a particularized

message” and “the likelihood [is] great that the message would be understood by those

who viewed it.” Id. The second requirement means that a “reasonable person would

interpret” the conduct as communicating “some sort of message.” Fort Lauderdale Food

Not Bombs v. City of Fort Lauderdale (Food Not Bombs I), 901 F.3d 1235, 1240 (11th Cir.

2018). While the message needn’t be narrow or succinctly articulable, it still must be

“identifiable.” Bar-Navon v. Brevard Cnty. Sch. Bd., 290 F. App’x 273, 276 (11th Cir. 2008).

And the message must be “overwhelmingly apparent.” FAIR, 547 U.S. at 66.

       Distributing food and water to voters in line is not inherently expressive; it con-

veys no identifiable message that is overwhelmingly apparent. Plaintiffs give gifts, such

as bottled water or pretzels, to voters in line. But there is not a “great likelihood” that

the voters interpret these gifts to convey an identifiable message. Burns v. Town of Palm

Beach, 999 F.3d 1317, 1347 (11th Cir. 2021). Receiving a bottle of water could mean

nothing (“Here’s a bottle of water”). Or it could mean “You look thirsty,” “Be my

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friend,” “Drinking water is good for your health,” “Try this brand,” “Join my church,”

or “Vote for my party.” A recipient cannot tell which of these messages (or countless

others) is being expressed without additional speech—a telltale sign that the conduct is

“not ... inherently expressive.” FAIR, 547 U.S. at 66. Without some accompanying

speech, a recipient could only “speculate” what “discernible message” is being ex-

pressed by the plaintiffs’ “mere act” of distributing gifts. Lichtenstein v. Hargett, 489 F.

Supp. 3d 742, 767-68 (M.D. Tenn. 2020).

       While the plaintiffs believe that their conduct encourages people to vote, “facil-

itating voting” is “not ... communicating a message.” Feldman v. Ariz. Sec’y of State’s Off.,

840 F.3d 1057, 1084 (9th Cir. 2016). Conduct does not automatically become speech

when it is “the product of deeply held personal belief,” has “social consequences,” or

“discloses” their approval of voting (or their disapproval of lines). Nev. Comm’n on Ethics

v. Carrigan, 564 U.S. 117, 126-27 (2011). Giving each voter a briefcase full of cash also

facilitates voting and conveys approval of the franchise (probably more effectively than

food and drink), but the plaintiffs do not claim a First Amendment right to pay voters

to stay in line.

       In fact, courts have held that far more direct methods of facilitating voting are

not expressive. Collecting and returning absentee ballots for voters is not speech. See

Knox v. Brnovich, 907 F.3d 1167, 1181 (9th Cir. 2018). Neither is collecting and returning

their voter-registration applications. See Voting for Am., Inc. v. Steen, 732 F.3d 382, 391 &

n.4 (5th Cir. 2013). The plaintiffs have never argued that these cases are wrongly

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decided. But the groups in those cases also argued that their actions conveyed messages

of support for voting, voters, and the democratic process. See, e.g., Knox, 907 F.3d at

1181; Feldman, 840 F.3d at 1083. The plaintiffs cannot explain why providing food and

water to people in line communicates a pro-voting message, but literally helping people

vote does not.

       Nor can the plaintiffs rely on this Court’s decision in Food Not Bombs. That deci-

sion held that a group engaged in expressive activity when it used meals at its weekly

events at a public park to bring attention to its message about “end[ing] hunger and

poverty.” 901 F.3d at 1238. The court emphasized the importance of the “factual con-

text and environment” of the group’s activities. Id. at 1245. And it was bound to con-

strue all the relevant facts in favor of the group because the group was appealing a grant

of summary judgment. Id. at 1239. This Court found that the group’s event was speech

because it used “tables and banners” at the events, used food at an “undisputed public

forum,” and used “the sharing of food as the means for conveying its message.” Id. at

1238, 1242-43.

       The problem for the plaintiffs is that they are not sharing meals; they are unilat-

erally giving voters items. Nor are the plaintiffs spreading a message about hunger or

thirst, so they lack the same special symbolic justification and connection that was pre-

sent in Food Not Bombs. Further, the plaintiffs want to conduct their activities in a

marked no-solicitation zone near a polling place, which is a far cry from a traditional

public forum like a park. See Minn. Voters All., 138 S. Ct. at 1883, 1886-88. The plaintiffs

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also do not consistently conduct their activities so as part of one large production with

tables and banners integrated into their message, but rather through discrete acts with

utilitarian goals. Combine all this with the less favorable procedural posture of this case,

and Food Not Bombs is little help to the plaintiffs.

       The plaintiffs’ provision of gifts is conduct, subject to the same regulations that

apply to the distribution of a wide range of goods and services in countless other con-

texts. Of course, many laws prohibiting conduct impose “incidental” burdens on

speech, but that “hardly means [they] should be analyzed as one[s] regulating ... speech

rather than conduct.” FAIR, 547 U.S. at 62; see Williams, 553 U.S. at 298 (laws regulating

offers and conspiracies to engage in unlawful acts regulate conduct, not expression).

The plaintiffs’ attempt to constitutionalize all their activities—and effectively remove

them from reasonable state regulation of the immediate vicinity surrounding the polling

place—should be rejected.

       ii. But even assuming that the plaintiffs’ conduct is speech, the solicitation defi-

nition would not be subject to strict scrutiny. Instead, if the plaintiffs are entitled to any

constitutional scrutiny, it would be a relaxed standard: either the test for time, place, or

manner restrictions; the test for regulations of expressive conduct from United States v.

O’Brien, 391 U.S. 367 (1968); or the test for election regulations from Anderson v. Cele-

brezze, 460 U.S. 780 (1983), and Burdick v. Takushi, 504 U.S. 428 (1992).

       Even protected “[e]xpression, whether oral or written or symbolized by conduct,

is subject to reasonable time, place, or manner restrictions.” Clark v. Cmty. for Creative

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Non-Violence, 468 U.S. 288, 293 (1984). This Court’s decision in First Vagabonds Church

is instructive. There the Court assumed (but did not decide) that the plaintiff was en-

gaged in expressive activity when it conducted group food-sharing events at parks to

address the plight of the homeless. First Vagabonds Church of God v. City of Orlando, 638

F.3d 756, 758 (11th Cir. 2011) (en banc). But the Court explained that, if this activity

constituted protected expression at all, then a law limiting it was not subject to strict

scrutiny. Instead, the law was constitutional so long as it was “reasonable” and regulated

the time, place, or manner of the supposedly expressive activity. Id. The law there re-

stricted the plaintiff to only two such food-sharing events per year, which this Court

held was constitutional. Id. at 759-61. That conclusion followed from the Supreme

Court’s decision in Clark, which upheld a restriction on camping in parks as applied to

expressive demonstrators. 468 U.S. at 297.

       Here, the challenged phrase in Florida’s solicitation definition should be scruti-

nized as a time, place, or manner restriction. Under the terms of the challenged phrase,

food and drink can be distributed and voters can be influenced in other ways—just not

at a certain place (the no-solicitation zone) and at a certain time (during voting). Clark,

468 U.S. at 294-95. To the extent that the plaintiffs engage in expressive conduct, they

are no different from the plaintiffs in First Vagabonds Church and Clark. So their claims

should be subject to the same lenient “reasonableness” standard that applied there.

       Alternatively, if the challenged phrase is not analyzed as a time, place, or manner

restriction, then it should be analyzed under O’Brien’s test for regulations of expressive

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conduct. Even the plaintiffs agree that giving food and drinks to voters is, at most,

“expressive conduct” rather than pure speech. See Doc. 665 at 161. As they must, since

any expression occurs via the symbolism of delivery of goods and services rather than

spoken words.

       Under O’Brien, a regulation of expressive conduct is constitutional if the law is

within “the constitutional power of the government,” the government has a “substantial

interest” that the law “plainly serve[s],” that interest is “unrelated to the suppression of

expression,” and the restriction on expression is “no greater than necessary.” First Vag-

abonds Church, 638 F.3d at 761 (citing Clark, 468 U.S. at 298-99). In First Vagabonds

Church, for example, this Court alternatively upheld the restriction on food-sharing

events under O’Brien. The law passed muster because of the city’s unquestioned power

to regulate food sharing, its “interest in managing park property,” and its wide latitude

to determine what restrictions were necessary to further that interest. Id. at 762.

       Separately, the solicitation definition is not subject to strict scrutiny because it

regulates speech in a nonpublic forum. The district court was wrong to conclude that

the 150-foot buffer zone around polling places is a “traditional public forum.” Doc.

665 at 166. The question is not what that area is in the abstract—such as “streets” and

“sidewalks,” id.—but what it is “on Election Day,” Minn. Voters All., 138 S. Ct. at 1886.

This Court is free to conclude that, on election day, “the parking lots and walkways

leading to the polling places are nonpublic forums.” United Food & Com. Workers Loc.

1099 v. City of Sidney, 364 F.3d 738, 750 (6th Cir. 2004). As the Supreme Court explained

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in Minnesota Voters Alliance, its fractured decision in Burson did not resolve “whether the

public sidewalks and streets surrounding a polling place qualify as a nonpublic forum.”

138 S. Ct. at 1883. Justice Scalia, who provided the key fifth vote, documented the long

tradition in this country of treating those areas as nonpublic forums. See Burson, 504 U.S.

at 214-16 (Scalia, J., concurring in the judgment). A majority of the Supreme Court cited

his opinion approvingly in Minnesota Voters Alliance, stressing that States have long re-

stricted speech “in and around polling places on Election Day.” 138 S. Ct. at 1883 (em-

phasis added). These areas are classic nonpublic forums during voting, so even content-

based regulations of them need only be reasonable. Id. at 1885.

       Even if the solicitation provision applied within a traditional public forum, it

would be subject not to strict scrutiny, but rather to the Anderson-Burdick balancing test

for election regulations. When election regulations implicate constitutional rights, they

are analyzed under Anderson-Burdick’s more forgiving analysis. Jacobson v. Fla. Sec’y of State,

974 F.3d 1236, 1261 (11th Cir. 2020). Anderson-Burdick governs First Amendment claims

against election laws no less than other claims. E.g., Stein v. Ala. Sec’y of State, 774 F.3d

689, 694 (11th Cir. 2014); Burdick, 504 U.S. at 434; Anderson, 460 U.S. at 789. Under

Anderson-Burdick, a restriction on First Amendment activity is valid so long as it imposes

only “reasonable, nondiscriminatory restrictions” and is justified by “a State’s important

regulatory interests.” Stein, 774 F.3d at 694 (quoting Timmons v. Twin Cities Area New

Party, 520 U.S. 351, 358 (1997)). And as particularly relevant here, the Supreme Court




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has “repeatedly upheld reasonable, politically neutral regulations that have the effect of

channeling expressive activity at the polls.” Burdick, 504 U.S. at 438.

       iii. Finally, the solicitation provision’s regulation of the plaintiffs’ activities would

satisfy any level of scrutiny—even strict scrutiny. It satisfies the “reasonableness” stand-

ard for time, place, and manner regulations because it imposes a less restrictive limit on

the plaintiffs’ allegedly expressive activities than the restrictions upheld in First Vaga-

bonds Church and Clark. See 638 F.3d at 759-61; 468 U.S. at 297. In First Vagabonds Church,

the plaintiff could engage in its food-related activities twice a year, whereas here the

challenged clause allows the plaintiffs to engage in those activities anywhere, anytime,

except around voting places during elections. If the plaintiffs’ activities are treated as

protected expression at all, then First Vagabonds Church means that Florida’s regulation

of those activities should be upheld as a reasonable time, place, or manner restriction.

       The solicitation provision also satisfies O’Brien’s test for expressive conduct. No-

body questions that the provision is within the “power of the government.” First Vag-

abonds Church, 638 F.3d at 761. The challenged phrase is not aimed at “the suppression

of expression” but rather at curtailing improper influence. Id. And any “incidental re-

strictions of the alleged freedoms under the First Amendment” are “no greater than

necessary to further the interest of the government” because the clause specifically tar-

gets influencing voters in a narrowly circumscribed area while allowing other expression

to continue unimpeded. Id.




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       As for the State’s “substantial interest[s],” id., it has several. Its interests are “sub-

stantial” under the O’Brien test and strong enough to satisfy Anderson-Burdick or strict

scrutiny. The State has a “compelling interest” in protecting voters from “confusion,”

“undue influence,” “fraud,” “pressure,” and “intimidation.” Burson, 504 U.S. at 199-200

(plurality op.); Brnovich, 141 S. Ct. at 2325. It can “reasonably take steps to ensure” that

“discord not follow the voter up to the voting booth, and distract from a sense of shared

civic obligation at the moment it counts the most.” Min. Voters All., 138 S. Ct. at 1888.

And this Court has long recognized the need for “a zone of order around the polls”

because it is “probable” that, without it, “some—maybe many—voters faced … will

refrain from participating in the election process.” Citizens for Police Account., 572 F.3d at

1220-21. Even if these concerns are not always present or can be punished case by case,

strict scrutiny does not prevent the State from acting prophylactically in this context.

See id.; Burson, 504 U.S. at 206-07 (plurality op.).

       Although narrow tailoring should not be required here, the State narrowly tai-

lored its solicitation law to serve its interests. The clause ensures that, in the most sen-

sitive places and at the most sensitive times, voters are free from interactions that cause

disorder, pressure, intimidation, confusion, undue influence, and fraud. Before the chal-

lenged clause was added, people used bullhorns and got in fights with each other at

polling places. See Tr. 1388:9-14. Florida was not powerless to act.

       A prophylactic ban on influencing voters was appropriate given the impossibility

of screening out improper interactions on election day. As Miami-Dade’s supervisor

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explained, “[I]t can be impossible to discern what is solicitation” and “what is not so-

licitation” during the hubbub of voting. Tr. 1376:15-1377:3. “People try to take ad-

vantage” of any loopholes by “say[ing], Oh, no, I’m just going to the bathroom, and

then, you know, they start talking to voters.” Id. People at libraries “pretend like they

are just going to be a patron reading a book … but then … they leave campaign mate-

rials everywhere.” Id. It is thus “impossible with the volume of sites and the volume of

people that we are dealing with out there to discern who is engaging in activity to influ-

ence.” Id. The State’s ban protects voters in a carefully tailored manner given the nature

of the problem. The First Amendment allows that approach in this context. See Citizens

for Police Account., 572 F.3d at 1220-21.

       As it should. “Running elections” is “extraordinarily complicated and difficult.”

Merrill v. Milligan, 142 S. Ct. 879, 880 (2022) (Kavanaugh, J., concurral). States “wan[t]

peace and order around” their “polling places” because “it preserves the integrity and

dignity of the voting process and encourages people to come and to vote.” Citizens for

Police Account., 572 F.3d at 1220. After all, voting “is a time for choosing, not campaign-

ing.” Minn. Voters All., 138 S. Ct. at 1887. Regulations like the solicitation provision also

reduce burdens on administrators, see New Ga. Proj. v. Raffensperger, 976 F.3d 1278, 1282

(11th Cir. 2020), and prevent the unfairness of last-second electioneering, see Burson, 504

U.S. at 199 (plurality op.).

       Accordingly, the challenged phrase should not be subject to strict scrutiny be-

cause it governs either unprotected conduct or, at most, less-protected speech that is

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subject to a lenient standard. But regardless, it survives any level of scrutiny. So even

the strongest case that the plaintiffs can muster is, itself, not an unconstitutional appli-

cation of the solicitation provision. Other applications are even easier calls. The statute

is not substantially overbroad.

       B.     The solicitation definition is not facially vague.
       A law is facially vague only when it lacks any core. But the solicitation definition

has a core: essentially, do not approach voters in the no-solicitation zone to ask them

for things or give them things. The district court’s contrary analysis reads the challenged

part of the statute incorrectly, without context, uncharitably, and inconsistently with the

governing test for facial vagueness.

       1. A law is not facially vague unless it “simply has no core.” United States v. Powell,

423 U.S. 87, 92 (1975). A vague law proscribes “no comprehensible course of conduct

at all.” High Ol’ Times, Inc. v. Busbee, 673 F.2d 1225, 1228 (11th Cir. 1982). It is “utterly

devoid” of a standard to guide citizens who are attempting to comply with it. Id. To

determine whether a law is unconstitutionally vague, courts look for the “absence of

any ascertainable standard for inclusion and exclusion.” Smith v. Goguen, 415 U.S. 566, 578

(1974) (emphasis added). A vague statute involves not just points of imprecision or

confusion, but “hopeless indeterminacy” and “grave uncertainty.” Sessions v. Dimaya,

138 S. Ct. 1204, 1213-14 (2018). “Conversely, if persons of reasonable intelligence can

derive a core meaning from a statute,” that alone “precludes facial invalidity.” Indigo

Room, Inc. v. City of Fort Myers, 710 F.3d 1294, 1302 (11th Cir. 2013).


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       As reflected in these articulations of the legal standard, facial vagueness is hard

to prove. That a statute fails to “define each and every word” does not make it vague.

United States v. Sepulveda, 115 F.3d 882, 886 n.9 (11th Cir. 1997). Nor does the fact that

the statute creates “close cases,” applies unclearly in “marginal fact situations,” or ap-

plies uncertainly in “a particular situation”—virtually every law does that. Williams, 553

U.S. at 305-06; Powell, 423 U.S. at 93; Harris County Comm’rs Court v. Moore, 420 U.S. 77,

87 n.9 (1975). “We can never expect mathematical certainty from our language.” Grayned

v. City of Rockford, 408 U.S. 104, 110 (1972). And “the law is full of instances where a

man’s fate depends on his estimating rightly … some matter of degree.” Nash v. United

States, 229 U.S. 373, 377 (1913). “‘[P]erfect clarity and precise guidance have never been

required even of regulations that restrict expressive activity,’” Williams, 553 U.S. at 304,

though as explained the solicitation provision does not facially restrict expressive activ-

ity, supra II.A.

       Examples from the caselaw of statutes that are not facially vague include:

       • A ban on picketing “in such a manner as to obstruct or unreasonably
         interfere with” the “free ingress or egress to and from” any courthouse.
         Cameron v. Johnson, 390 U.S. 611, 616 (1968).
       • A ban on making a sound that “unreasonably disturbs, injures, or en-
         dangers” the “comfort, repose, health, peace, or safety of others” in
         certain areas. Pine v. City of W. Palm Beach, 762 F.3d 1262, 1276 (11th
         Cir. 2014).
       • A requirement that people travel only by the “shortest practicable
         route.” Sproles v. Binford, 286 U.S. 374, 393 (1932).




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       • A ban on “willfully mak[ing] or assist[ing] in the making of any noise
         or diversion” that “disturbs or tends to disturb the peace or good or-
         der” of a school or classroom. Grayned, 408 U.S. at 108.
In short, “[s]triking down [laws] as facially void for vagueness is a disfavored judicial

exercise.” Schleifer v. Charlottesville, 159 F.3d 843, 853 (4th Cir. 1998).

       2. Florida’s solicitation provision is not vague. The operative word of the statute

is “solicit.” Fla. Stat. §102.031(4)(a). No one contends that a flat ban on “soliciting vot-

ers” would be vague. To make things even clearer, Florida also defined “solicit” in part.

Cf. Manufs. Life Ins. v. Capitol Datsun, Inc., 566 F.2d 354, 359 (D.C. Cir. 1977) (encourag-

ing definitions because they “minimiz[e] … uncertainty”). That definition is really a

nonexhaustive list of examples of prohibited solicitation. See Fla. Stat. §102.031(4)(b)

(“the terms ‘solicit’ or ‘solicitation’ shall include, but not be limited to”). One example

in the list is “engaging in any activity with the intent to influence or effect of influencing

a voter.” Id.

       The legislature did not make a clear statute unconstitutionally vague by adding

this phrase. The challenged phrase has a core: it gives voters in the no-solicitation zone

the right to be free from attempts to change how or whether they vote. Third parties

looking to “steer between lawful and unlawful conduct” can easily do so by simply

leaving these voters alone. Grayned, 408 U.S. at 108-09. Innocent parties have nothing

to fear because the law excludes innocent and normal interactions within the no-solici-

tation zone. Several textual and contextual points make this core meaning plain.




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       a. Although the challenged phrase appears in a definition of the word “solicit,”

the “normal sense” of that word still bears “significantly on the meaning of” the chal-

lenged phrase. Scalia & Garner, Reading Law 232 (2012); accord id. at 228 (explaining that,

when “a definition itself contains a term that is not clear,” courts clarify its meaning by

consulting “the word actually being defined”). Solicitation means “asking for, or entic-

ing to, something.” Wis. Dep’t of Rev. v. William Wrigley, Jr., Co., 505 U.S. 214, 223 (1992)

(cleaned up). And it “requires the initiation of contact.” Mona Elec. Grp., Inc. v. Truland

Serv. Corp., 56 F. App’x 108, 110 (4th Cir. 2003). So nothing in the solicitation provision

forbids small talk between voters waiting in line, spontaneous kindnesses like “help[ing]

an unsteady voter to the door,” or uninitiated interactions where voters happen to see

what someone is wearing. Cf. Doc. 665 at 177-78.

       b. The challenged phrase also appears in a list of examples of prohibited solici-

tation, and those “neighboring words” give “more precise content” to the challenged

phrase. Williams, 553 U.S. at 294. Again, solicitation means asking someone for some-

thing or trying to persuade someone to do something. Wis. Dep’t of Rev., 505 U.S. at 223.

Fittingly, the statute’s other examples of forbidden solicitation all involve either asking

a voter to provide something (a vote, fact, opinion, contribution, poll response, or

money) or giving something to a voter (a material, leaflet, handout, or good). See Fla.

Stat. §102.031(4)(b). The challenged phrase thus prohibits that same kind of conduct.

See LWVF, 32 F.4th at 1374.




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       Indeed, the solicitation definition did not come out of nowhere; it reflects a

multi-state “consensus” that was formed over “our country’s long history.” Citizens for

Police Account., 572 F.3d at 1221. According to that consensus, a “solicitation-free zone

around polling places is necessary to protect voters from confusion and undue influence

and to preserve the integrity and dignity of the election process.” Id. at 1221 & n.16.

The idea is that “the last 15 seconds before [voters] enter the polling place should be

their own, as free from interference as possible.” Minn. Voters All., 138 S. Ct. at 1886

(cleaned up). The statute “codifies the Florida legislature’s view that the right of Flor-

ida’s citizens to vote warrants substantial protection from commotion—that is, bustle,

stir, confusion—around the voting place.” Citizens for Police Account., 572 F.3d at 1215.

       This history links the examples in the statute together. Giving things to voters

obviously affects whether and how they vote. The plaintiffs admit that they give out

food and water, for example, to encourage voters to stay in line and actually go inside

and pull the lever. And though asking voters questions and selling them items isn’t

necessarily connected to their vote, those solicitations “dete[r] potential voters from

coming to the polls” in the first place. Citizens for Police Account., 572 F.3d at 1219. If

solicitation is freely allowed, then “some—maybe many—voters faced with running the

gauntlet will refrain from participating in the election process merely to avoid the re-

sulting commotion.” Id. at 1220 (cleaned up).

       c. The challenged phrase also requires the covered activities to occur at a specific

place (the designated no-solicitation zone) at a specific time (during voting) and

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targeting specific people (voters). See Fla. Stat. §102.031(4)(a)-(e). “Given this particular

context,” the challenged phrase “gives fair notice to those to whom it is directed.”

Grayned, 408 U.S. at 112; accord Pine, 762 F.3d at 1275 (that law was limited to areas “near

health care facilities” prevented it from being facially vague). Florida did not enact “a

vague, general” law that bans any activity that influences someone; it enacted a law

“written specifically for the [voting] context, where the prohibited disturbances are eas-

ily measured by their impact on the normal activities of the [polling place].” Grayned,

408 U.S. at 112. In other words, the impact on a voter’s decision whether and how to

vote.

        d. The statute’s exceptions also clarify its scope. After defining “solicit” to in-

clude “seeking … any … fact[ or] opinion” or “conducting any poll,” the statute carves

out “exit polling” from its scope. Fla. Stat. §102.031(4)(b). In the same way, after defin-

ing “solicit” to include “engaging in any activity with the intent to influence or effect of

influencing a voter,” the statute carves out election officials “giving items to voters”

from its scope. Id. That the legislature needed to include this exception highlights that

the challenged phrase otherwise does cover non-officials “giving items to voters.” In-

deed, the plaintiffs sued to challenge that phrase precisely because they understood that

it bans distributing food and water to voters in line. But that clear application of the

statute alone defeats their facial-vagueness challenge. See Holder v. Humanitarian Law

Proj., 561 U.S. 1, 20 (2010).




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       III. The district court’s contrary analysis was mistaken. The court refused to

consult the “plain or ordinary meaning” of the word “solicit,” Doc. 665 at 173, even

though that information is “the most significant” contextual evidence of what the chal-

lenged phrase means. Reading Law 232. The district court also looked at the challenged

phrase in a vacuum, without using the nearby examples, history, or the statute’s limited,

voting-specific context to inform its meaning. Cf. Williams, 553 U.S. at 306 (instructing

courts to consider any “narrowing context” or “settled legal meanings”). That sur-

rounding context would have answered the court’s rhetorical questions about what the

statute doesn’t want to be influenced (a voter’s decision whether or how to vote) and

the kind of activities that influence voters (giving them or asking them things). Cf. Doc.

665 at 174-77.

       After failing to accurately define the statute’s core, the district court made several

legal errors as well. It fretted that certain terms remain “undefined,” id. at 174, and that

certain hypotheticals present close cases, id. at 177-78. Yet both lines of reasoning have

been rejected by binding precedent. See Sepulveda, 115 F.3d at 886 n.9 (definitions not

needed); Williams, 553 U.S. at 306 (close cases not relevant). The court’s concern that

the statute says “any activity,” Doc. 665 at 174, confused vagueness for breadth. See

United States v. Brenson, 104 F.3d 1267, 1281 (11th Cir. 1997) (“The mere fact that a term

‘covers a broad spectrum of conduct,’ does not render it unconstitutionally vague.”).

       And even assuming the testimony of county officials could make a statute facially

vague, the district court took the wrong lesson from the supervisors’ testimony. As the

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court noted, the supervisors generally testified that SB90 would not change how they ap-

plied the solicitation provision. Those counties were already banning third parties from

distributing food and water in the no-solicitation zone before SB90, presumably be-

cause they understood that conduct to fall within the preexisting, nonexhaustive defi-

nition of “solicit.” See Doc. 665 at 178-80. That the statute makes explicit what was

previously implicit, and codifies what was already happening on the ground, does not

somehow make it vague.

       The district court’s main point was its concern that the phrase “effect of influ-

encing a voter” was impermissibly subjective. See id. at 178. But as explained, influencing

a voter in this context means changing his decision about whether or how to vote.

Whether someone’s conduct had that effect on a voter “is a true-or-false determination,

not a subjective judgment such as whether conduct is ‘annoying’ or ‘indecent.’” Williams,

553 U.S. at 306. While it might be difficult to prove that effect in many cases (unless a

specific voter comes forward and testifies), that difficulty does not implicate the vague-

ness doctrine. “What renders a statute vague is not the possibility that it will sometimes

be difficult to determine whether the incriminating fact it establishes has been proved;

but rather the indeterminacy of precisely what that fact is.” Id.

       Nor would a court tasked with enforcing the statute adopt the district court’s

draconian reading. See Doc. 665 at 173-78. Though the phrase “effect of influencing”

does not contain a scienter requirement, courts would read one in. See United States v.

Brantley, 68 F.3d 1283, 1289 (11th Cir. 1995); Maestas v. State, 76 So. 3d 991, 994 (Fla.

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Dist. Ct. App. 2011). And they would read all the terms with lenity toward the defend-

ant. See Martin v. State, 259 So. 3d 733, 741 (Fla. 2018). After all that construing, courts

would read the challenged phrase to require that the defendant’s conduct not just influ-

ence whether or how someone voted, but also had that “‘natural and probable effect.’”

E.g., United States v. Aguilar, 515 U.S. 593, 599 (1995) (reading the catchall provision of

18 U.S.C. §1503, which prohibits “influenc[ing]” the “due administration of justice,” to

require that the defendant’s conduct “have the ‘natural and probable effect’ of interfer-

ing with the due administration of justice”); United States v. Thomas, 916 F.2d 647, 651

(11th Cir. 1990) (same). Any difficulties in applying this standard in actual prosecutions

are “addressed, not by the doctrine of vagueness, but by the requirement of proof be-

yond a reasonable doubt.” Williams, 553 U.S. at 306.


                                    CONCLUSION
       For the reasons in this brief, the Court should reverse the district court with

respect to the solicitation definition. For the reasons in the State’s brief, the Court

should reverse the district court with respect to intentional discrimination and preclear-

ance. On the registration disclaimer, this Court should grant appellants’ pending motion

and dismiss No. 22-11133, vacate the relevant portions of the district court’s decision,

and remand with instructions to dismiss the plaintiffs’ challenges as moot.




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                                             Respectfully submitted,

                                             /s/ Cameron T. Norris
Benjamin J. Gibson                           Cameron T. Norris
Daniel E. Nordby                             Jeffrey S. Hetzel
George N. Meros Jr.                          CONSOVOY MCCARTHY PLLC
Frank A. Zacherl                             1600 Wilson Boulevard, Suite 700
Amber Stoner Nunnally                        Arlington, VA 22209
Tara R. Price                                (703) 243-9423
SHUTTS & BOWEN LLP                           cam@consovoymccarthy.com
215 South Monroe Street, Suite 804           jhetzel@consovoymccarthy.com
Tallahassee, Florida 32301
(850) 241-1717                               Tyler R. Green
bgibson@shutts.com                           CONSOVOY MCCARTHY PLLC
dnordby@shutts.com                           222 South Main Street, 5th Floor
gmeros@shutts.com                            Salt Lake City, Utah 84101
fzacherl@shutts.com                          tyler@consovoymccarthy.com
anunnally@shutts.com
tprice@shutts.com
                       Counsel for Republican National Committee
                      & National Republican Senatorial Committee


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      This brief complies with Rule 32(a)(7) because it contains 11,164 words, exclud-

ing the parts that can be excluded. This reply also complies with Rule 32(a)(5)-(6) be-

cause it’s prepared in a proportionally spaced face using Microsoft Word 2016 in 14-

point Garamond font (plus 14-point Helvetica font for headings).

Dated: July 11, 2022                                   /s/ Cameron T. Norris


                          CERTIFICATE OF SERVICE
      I e-filed this brief with the Court, which will email everyone requiring notice.

Dated: July 11, 2022                                   /s/ Cameron T. Norris


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